                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )
                                                 )
RICHARD W. GATES III,                            )            Crim. No. 17-201-2 (ABJ)
                                                 )
               Defendant.                        )


      DEFENDANT RICHARD W. GATES III’S MOTION TO MODIFY RELEASE
                  CONDITIONS FOR LIMITED PURPOSES
                    TO ATTEND NEW YEAR’S EVENTS

       Richard W. Gates III, by and through counsel, hereby moves this Court for modification

of his release conditions for limited purposes so that he may accompany his family to events for

the New Year’s holiday from Sunday, December 31, 2017 through Monday, January 1, 2018.

The events are within the jurisdiction of the Eastern District of Virginia, less than 60 miles from

Mr. Gates’s residence. Mr. Gates requests a limited release to attend these events with his family

before school resumes 1. Mr. Gates notes that the Court denied a prior request to take a longer

trip with his family to a city outside the state of Virginia for the New Year’s holiday. Mr. Gates

submits this request with the hope that it is palatable to the Court given that the events span two

days instead of three and are within the Eastern of District Virginia, where Mr. Gates remains in

home confinement.

       If this Court permits this limited release from home confinement, Mr. Gates will

promptly provide Pre-Trial Services with specific information about the events, including the

times and locations. Mr. Gates will also continue to abide by all of his other release conditions,

including reporting to Pre-Trial Services as well as maintaining his GPS monitor.


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 See attached Exhibit 1 filed under seal for specific information about the events, including their
exact locations.
       The United States opposes this motion.

       WHEREFORE, Mr. Gates hereby respectfully moves this Court to modify his release

conditions for limited purposes as specified above.

                                             Respectfully submitted,
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RICHARD W. GATES III,                          )         Crim. No. 17-201-2 (ABJ)
                                               )
              Defendant.                       )

                                            ORDER

       Upon consideration of Defendant Richard W. Gates III’s Motion to Modify Release

Conditions for Limited Purposes to Attend New Year’s Events and finding good cause shown, it

is this ___ day of December, 2017, hereby

       ORDERED, that the motion is GRANTED.



                                             _______________________________________
                                             AMY BERMAN JACKSON
                                             UNITED STATES DISTRICT JUDGE
